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EXHIBIT B
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Filed: 5/15/2019 2:14 PM
Clerk
Putnam Circuit Court Putnam County, Indiana

STATE OF INDIANA ) IN THE PUTNAM SUPERIOR/CIRCUIT COURT
SS:
COUNTY OF PUTNAM ) 2019 TERM

MARK RUTHRAUFF
Plaintiff

vs. CAUSE NO. 67C01-1905-CT-000291

JULIAN DROZDOWSKI and
FTI HOLDINGS
Defendants
COMPLAINT

Plaintiff Mark Ruthrauff complains of the defendant Julian Drozdowski and
for cause of action, says:

1. On May 16, 2017, there was in Putnam County, Indiana, a paved, public
road running in an easterly and westerly direction, known as Interstate 70.

2. At about 11:31 a.m. on May 16, 2017, plaintiff Mark Ruthrauff was riding
as a passenger in a vehicle driven by Gregory Pearson heading westbound, on
Interstate 70. The vehicle in which Mark Ruthrauff was a passenger had to slow for
traffic due to roadside work near mile marker 44 when FTI Holdings driver Julian
Drozdowski approached from behind failing to slow for traffic striking the vehicle
from behind.

3. As a result of this collision, plaintiff Mark Ruthrauff was injured, he has

required medical treatment and incurred expense therefore, he has suffered pain

and mental anguish, all of which things are continuing and permanent.
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4. This collision and plaintiffs injuries and damages were directly and
proximately caused by the negligence of the defendant Julian Drozdowski in the
operation of the motor vehicle he was driving.

WHEREFORE, plaintiff prays and demands judgment against the defendant
Julian Drozdowski in such an amount as will fully and fairly compensate him for all
of his injuries and damages, for the costs of this action, and for all other just and

proper relief.

McGLONE LAW

DANIEL J. MeGLONE (14033-84)
1717 South 34 Street
Terre Haute, Indiana 47802
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(812) 234-4900 FAX
Attorney for Plaintiff
COUNT HI
Plaintiff Mark Ruthrauff complains of the defendant FTI Holdings and for
cause of action, says:
1-3. Plaintiff Mark Ruthrauff incorporates herein by reference Paragraphs 1
through 3 from Count I of this Complaint.
4, At all times relevant herein, defendant Julian Drozdowski was employed

by defendant FTI Holdings and acting within the course and scope of his

employment.
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5. At all times herein applicable, defendant FTI Holdings was a corporation
engaged in the transportation industry in Canada and maintaining a location in
Dundas, Ontario, Canada at 466 Highway 52, RR#2.

6. The losses and damages of plaintiff Mark Ruthrauff were directly and
proximately caused by the negligence of the defendant FTI Holdings, Inc. by and
through its employee Julian Drozdowski in the operation of the motor vehicle he
was driving.

WHEREFORE, plaintiff Mark Ruthrauff prays and demands judgment
against the defendant FTI Holdings, Inc. in such an amount as will fully and fairly
compensate him for all of his losses and damages, for the costs of this action, and for
all other just and proper relief.

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(812) 234-4000

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Attorney for Plaintiff

 

REQUEST FOR JURY TRIAL

Plaintiff requests trial by jury as to all issues in this case.

CL Dnce.

DANIEL JS MeGLONE (14033-84)
